          Case 5:18-cv-00555-XR Document 356 Filed 03/11/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


JOE HOLCOMBE et al.                                §
                                                   §
-vs-                                               §                   SA-18-CV-00555-XR
                                                   §
UNITED STATES OF AMERICA,                          §
             Defendant                             §
                                                   §
                                                   §


                                 ORDER RE-SETTING TRIAL

        On this day the Court considered the status of this case. Due to certain scheduling conflicts,
the bench trial is now re-set to Wednesday, April 07, 2021 at 9:00 a.m. All other deadlines and
settings in this case remain unchanged.

       It is so ORDERED.

       SIGNED this 11th day of March, 2021.




                                               XAVIER RODRIGUEZ
                                               UNITED STATES DISTRICT JUDGE
